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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO: 1:23-cr-20036-KMM

UNITED STATES OF AMERICA

VS.
DANIELA RENDON
DEFENDANT?’S WAIVER OF SPEEDY TRIAL

COMES NOW the Defendant, by and through the undersigned attorney,
moves this Honorable Court to enter its Order finding that the Defendant has waived
speedy trial through the end of the year, December 31, 2023. As grounds in support
of this motion, the Defendant would show:

1. The Defendant has conferred with undersigned counsel and discussed
the pros and cons of waiving speedy trial in this case.

2. The Defendant believes that additional time is required for counsel to
reach a resolution in this matter due to the complexities involved, there is a
considerable amount of discovery to review and examine and proper consideration
must be given to all issues involved in order to ensure the Defendant receives the
defense available.

WHEREFORE, the Defendant moves this Court to enter its Order finding

that the Defendant has waived her right to a speedy trial in this case.

Defendant’s Waiver of Speedy
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DANIELA RENDON

/s/ Robert Mandell

ROBERT I. MANDELL, ESQ.
Florida Bar Number: 15484

/s/ Asad Ali_

ASAD ALT, ESQ.

Florida Bar Number: 111887
MANDELL LAW, P.A.

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that this original document has been E-Filed with the

Clerk of Court through the E-Portal and a copy of the foregoing has been E-Served

to Assistant United States Attorney, JBailyn@usa.doj.gov, Counsel for the

Government, via e-mail to, on March 6, 2023.

/s/ Robert Mandell

ROBERT I. MANDELL, ESQ.
Florida Bar Number: 15484

/s/ Asad Ali_

ASAD ALT, ESQ.

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Defendant’s Waiver of Speedy

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